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                                EXHIBIT B
Ernest Galvan

From:               Mattioli, Madison (USAMT) <Madison.Mattioli@usdoj.gov>
Sent:               Thursday, January 4, 2024 8:32 PM
To:                 Cha-Kim, Stephen; Oren Nimni; Ernest Galvan
Cc:                 Cziok, Abbie (USAMT); France, Robert (BOP)
Subject:            FW: USA 475s for Thursday, January 4, 2024
Attachments:        USA-475_I       A        Jan. 4 v.2.pdf; USA-475, M  ,S            Jan. 4 v.7.pdf

Importance:         High



[EXTERNAL MESSAGE NOTICE]
See attached.

Madison

From: France, Robert (BOP) <Rfrance@bop.gov>
Sent: Wednesday, January 3, 2024 8:19 PM
To: Torrance, Kallie (BOP) <ktorrance@bop.gov>; Espinoza, Caesar (BOP) <coespinoza@bop.gov>; Agostini, Morgan
(BOP) <MAgostini@bop.gov>
Cc: Kinlock, Quentin (USMS) <Quentin.Kinlock@usdoj.gov>; Zanca, David (USMS) <David.Zanca@usdoj.gov>
Subject: USA 475s for Thursday, January 4, 2024
Importance: High

Good evening everyone:

  For tomorrow, we will only need transport orders for the following two. We will not require any other inmates for
tomorrow. Please don’t hesitate to contact me with any questions or concerns at (               .

Thanks,
Rob




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Ernest Galvan

From:                  Cha-Kim, Stephen <Stephen.Cha-Kim@arnoldporter.com>
Sent:                  Thursday, January 4, 2024 8:18 PM
To:                    Mattioli, Madison (USAMT); Ernest Galvan; oren@rightsbehindbars.org
Cc:                    Cziok, Abbie (USAMT); France, Robert (BOP)
Subject:               Transport of Witnesses Issue



[EXTERNAL MESSAGE NOTICE]
We asked about when you submitted the list for the witnesses transported for today, meaning the list that was compiled
under Court supervision in the courtroom yesterday, January 3.

Please provide the information requested in my earlier email for that list. I include the earlier email for your reference
at the very end of this chain.

Stephen Cha‐Kim
Partner
Arnold & Porter
250 West 55th Street
New York, NY 10019‐9710
T: +1 212.836.7270
Stephen.Cha‐Kim@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter

From: Mattioli, Madison (USAMT) <Madison.Mattioli@usdoj.gov>
Sent: Thursday, January 4, 2024 7:41:09 PM
To: Ernest Galvan <EGalvan@rbgg.com>; zzz.External.oren@rightsbehindbars.org <oren@rightsbehindbars.org>; Cha‐
Kim, Stephen <Stephen.Cha‐Kim@arnoldporter.com>
Cc: Cziok, Abbie (USAMT) <Abbie.Cziok@usdoj.gov>; France, Robert (BOP) <Rfrance@bop.gov>
Subject: FW: USA‐475s for Friday, January 5, 2024

 External E‐mail

Neglected to copy Ernest on this when I forwarded to Oren and Stephen. We submitted the final list for Friday transport
around noon yesterday. When I went to the holding cell to meet with I.A., she mentioned that K.D. was in the holding
cell next to her – which alarmed me – but in light of what transpired after that, I neglected to remember that fact or
raise it with the Court.

They were not intentionally transferred, and I apologize for the mistake.

Thanks,
Madison

From: Mattioli, Madison (USAMT)
Sent: Thursday, January 4, 2024 8:32 PM
To: Cha‐Kim, Stephen <Stephen.Cha‐Kim@arnoldporter.com>; Oren Nimni <oren@rightsbehindbars.org>
Cc: Cziok, Abbie (USAMT) <ACziok@usa.doj.gov>
Subject: FW: USA‐475s for Friday, January 5, 2024
Importance: High

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Please see attached.

Madison

From: France, Robert (BOP) <Rfrance@bop.gov>
Sent: Thursday, January 4, 2024 12:05 PM
To: Espinoza, Caesar (BOP) <coespinoza@bop.gov>; Torrance, Kallie (BOP) <ktorrance@bop.gov>; Kinlock, Quentin
(USMS) <Quentin.Kinlock@usdoj.gov>; Zanca, David (USMS) <David.Zanca@usdoj.gov>
Cc: Mattioli, Madison (USAMT) <MMattioli@usa.doj.gov>; Smith, Mark (USAMT) <MSmith4@usa.doj.gov>; Tatarka, Tim
(USAMT) <TTatarka@usa.doj.gov>; Cziok, Abbie (USAMT) <ACziok@usa.doj.gov>
Subject: USA‐475s for Friday, January 5, 2024
Importance: High

Good morning again,

  These are the 475s needed for Friday’s testimony. I have highlighted in red the time change to each. Everything
needed should now be in this one email.

Thanks,
Rob

R          B     (Friday morning 8:00)
K         D           (Friday morning 8:00)
J              M        (Friday morning 8:00)
E              R         (Friday morning 8:00)
     Sh         L         (Friday morning 8:00)

A        V            (Friday afternoon 12:30)
L        P        R (Friday afternoon 12:30)
M        M         (Friday afternoon 12:30)
R         F           (Friday afternoon 12:30)
     C           A    H           (Friday afternoon 12:30 P.M.)


From: Cha‐Kim, Stephen
Sent: Thursday, January 4, 2024 7:26 PM
To: Mattioli, Madison (USAMT) Madison.Mattioli@usdoj.gov; Cziok, Abbie (USAMT) Abbie.Cziok@usdoj.gov
Cc: zzz.External.oren@rightsbehindbars.org oren@rightsbehindbars.org; Ernest Galvan EGalvan@rbgg.com
Subject: Transport of Plaintiffs' Witnesses Today ‐ RESPONSE REQUESTED

Madison,

We have learned that approximately three to four of our witnesses were transported today to the courthouse and spent
the entire day there without our knowledge, despite the fact that they were not included on the final transport list that
we compiled together yesterday at the Court’s instruction, see Tr. at 281. As you know, it was made clear that today’s
list was only to include witnesses to be called by the government.

We have serious concerns about this event, and request confirmation from you as to (1) whether and when you
provided the final transport list for today as instructed by the Court to USMS; (2) whether and when the Government
became aware of that our witnesses had transported and kept in the holding cell all trial day; (3) any knowledge you
have as to why this issue arose today; and (4) to the extent the Government became aware of this issue during the day,
why we were not informed.
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Please provide a response by 8:30 p.m. as we will be notifying the Court. We will note your position to the extent you
provide one.

Stephen


_______________
Stephen Cha‐Kim
Partner | Bio



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___________________________________________
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http://www.arnoldporter.com




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